           Case 3:12-cr-02496-AJB                    Document 126                Filed 10/15/12              PageID.246             Page 1 of 2


     'AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
                Sheet I


                                              UNITED STATES DISTRICT COUl\UlOCl \5 Pr\ 3: 44
                                                  SOUTHERN DISTRlCT OF CALIFORNIA                                    ~.   L'


                                                                                                                 ~ ~: ~i~',tl~H
                     UNITED STATES OF AMERICA                                     JUDGMENT IN A 'CRIMINAL CASE                                 ~,",\!T';
                                        v.                                        (For Offenses Committed ~n~~k7)

                MIGUEL ANGEL ROSAS-RIVERO (06)                                    Case Number: 12CR2496-AlB-06
                                                                                   Scott Pactor
                                                                                  Defem.mnt's Attorney
    REGISTRATION NO. 34153298

    o
    THE DEFENDANT:
     181pleaded guilty to count(s) _E_ig.;..h_t_o_f_th_e_I_n_dl_·c_tm_e_n_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
    Title & Section                          Nature of Offense                                                                            Number(s)
8 USC 1324(a)(l)(A)(ii)               CONSPIRACY TO TRANSPORTATION OF ILLEGAL ALIENS                                                         1




        The defendant is sentenced as provided in pages 2 through _ _",,2_ _ of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

  'X'
  ~
      Count(s)__
              Re_m_a_m_m..::::g__                           ----------------------------------------
                     ,', Co_un_ts_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0         dIsmissed on th emotion ofthe United States.
                                                                                             are~
                                                                                                  IVI'

 181 Assessment: $100.00 Waived

  181 Fine waived                                  0      Forfeiture pursuant to order filed                                 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                          12CR2496-AlB-06
      Case 3:12-cr-02496-AJB                       Document 126       Filed 10/15/12        PageID.247          Page 2 of 2


AO 245B (CASD) (Rev. 1112)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                            Judgment   Page _..;;2_ of        2
 DEFENDANT: MIGUEL ANGEL ROSAS·RIVERO (06)
 CASE NUMBER: 12CR2496-AJB-06
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
         TIME SERVED



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Da.m.    Dp.m.   on _ _ _ _ _ _ _ _ _ _ __
               as notified by the United States MarshaL

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before --------------------------------------------------------------------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                               RETIlRN

 I have executed this judgment as follows:

        Defendant delivered on                                                 to

 at ________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                     By _ _ _ _ _~~-~~~~~~~-------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                 12CR2496-AJB-06
